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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

  VEROBLUE FARMS USA INC.,                         §
                                                   §
       Plaintiff                                   §
                                                   §
  V.                                               §          CIVIL ACTION NO. 3:19-CV-00764-L
                                                   §
  WULF ET AL.,                                     §
                                                   §
       Defendants.                                 §


        EXPEDITED JOINT MOTION TO AMEND OR, IN THE ALTERNATIVE,
       VACATE THE AMENDED SCHEDULING ORDER AND DISCOVERY PLAN

        VeroBlue Farms USA, Inc., (“VBF” or “Plaintiff”) and Defendants Leslie A. Wulf, Bruce

A. Hall, John E. Rea, James Rea (collectively, the “Founder Defendants”) and Keith Driver

(“Driver”), (collectively, “Defendants”), by their attorneys and pursuant to Fed. R. Civ. P. 16(b)

respectfully move this Court to amend the Amended Scheduling Order and Discovery Plan as set

forth in the Proposed Agreed Second Amended Scheduling Order, attached hereto as Exhibit A.

In the alternative, Plaintiff and the Defendants (collectively, the “Parties”) respectfully request that

the Court vacate the existing Amended Scheduling Order and Discovery Plan until such time that

a scheduling order that is agreeable for the Parties and the Court can be entered. The Parties

request that this motion be considered on an expedited basis due to the current upcoming deadlines

in the Amended Scheduling Order and Discovery Plan entered by the previous court, which

includes a current deadline of April 23, 2019 to amend pleadings and add parties. In support of

this motion, the Parties would show the Court as follows:




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                                      I.     BACKGROUND

       1.      The live complaint in this lawsuit is VBF’s Amended Complaint which asserts

claims for breach of fiduciary duty, fraudulent concealment, fraudulent misrepresentation,

constructive fraud, among other claims, against Defendants, who are former officers and/or

directors of VBF (Dkt. 9).

       2.      The latest scheduling order issued by the transferor court set the following pending

deadlines:

                     Motions to add parties :              April 23, 2019

                     Motions to amend pleadings:           April 23, 2019

                     VBF’s expert disclosures:             May 23, 2019

                     Defendants’ expert disclosures:       June 21, 2019

                     VBF’s rebuttal experts:               July 22, 2019

                     Discovery deadline:                   October 20, 2019

                     Dispositive motions:                  November 20, 2019

                     Trial ready date:                     June 22, 2020

(Dkt. 36).

       3.      This case was transferred from the Northern District of Iowa to this Court on March

27, 2019 (Dkts. 50, 51).

       4.      Shortly after this case was transferred, on April 10, 2019, Founder Defendants filed

their Answer and Affirmative Defenses to the Amended Complaint and Third-Party Claims (Dkt.

66), which is their live answer. In this same pleading, the Founder Defendants included a Third-

Party Complaint, adding seven new parties to this case: Eva Ebstein, Jens Haarkoetter, Bjorn

Thelander, Anders Wester, Norman McCowan, Dr. Ottto Happel, and Alder Aqua, Ltd. (“Alder”)

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(collectively, the “Third-Party Defendants”). To date, none of the Third-Party Defendants has

been served.

       5.      In lieu of filing an answer, Defendant Driver re-filed his Motion to Dismiss for

Failure to State a Claim that the transferor court reserved for this Court to rule on (Dkts. 67-69).

As a result, this same motion now appears twice on this Court’s docket (Dkts. 20, 67-69).


                           II.     ARGUMENT AND AUTHORITIES

      6.       “Federal Rule of Civil Procedure 16(b) governs amendment of pleadings once a

scheduling order has been issued by the district court.” S&W Enters. v. SouthTrust Bank, 315 F.3d

533, 535 (5th Cir. 2003). Federal Rule of Civil Procedure 16(b)(4) permits modification of a

scheduling order “for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4).

       7.      The Parties seek a modification of the existing Amended Scheduling Order and

Discovery Plan (Dkt. 36). “Good cause” exists for entry of the attached proposed Second

Amended Scheduling Order because this lawsuit has significantly changed since entry of the live

Amended Scheduling Order.

       8.      First, since the transfer of this case to the Northern District of Texas, seven new

parties, four new claims involving new allegations, and new counsel for VBF have been added to

the case. Thus, extended deadlines are needed to enable the parties to properly prosecute their

claims and defenses.

       9.      In particular, VBF anticipates that it will be amending its Amended Complaint

based on significant new facts learned from the discovery it received in the last several weeks and

in light of Defendants’ new claims against seven new parties filed on April 10. The current

deadline for motions to amend pleadings is April 23, 2019. VBF does not believe that it will have

sufficient time before the April 23 deadline, to properly amend its Amended Complaint in light of

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the new discovery, new parties, and new claims in this case.

       10.     In addition, there are several motions still pending that may affect whether

additional claims and/or discovery will need to be conducted in this case. Specifically, the

following motions, which have been fully briefed, are currently pending: (i) the Founder

Defendants’ Motion to Quash Subpoenas or for a Protective Order (Dkt. 37); and (ii) Nonparties

Grace Nelson, Jeff Nelson, Jerita Nelson, Korrine Nelson, Mark Nelson, and SNB Farms

Partnership’s Motion to Quash Subpoenas, or, in the alternative, for Protective Order (Dkt. 41).

VBF believes that, should the Motions to Quash be denied, the documents responsive to those

subpoenas will be material to VBF’s case.

       11.     Furthermore, as explained below, the parties will require additional time to finish

discovery.

       12.     To date, VBF had issued and served twenty-six (26) subpoenas for documents and

eighteen (18) subpoenas for depositions, and had scheduled the depositions of the Defendants for

various dates between April 25, 2019 and May 17, 2019. VBF has started depositions, deposing

third party witness Anthony Michaels on April 10, and VBF is scheduled to take more depositions

in April and May. Additionally, on February 26, 2019, VBF issued written discovery requests

including Interrogatories, Requests for Admission, and Requests for the Production of Documents

on each of the five Defendants (“VBF’s Discovery Requests”). VBF recently received written

responses to VBF’s Discovery Requests. Based on its review of those written responses, VBF has

commenced meet and confer conferences with Defendants’ counsel. Moreover, VBF does not

have access to its files held by VBF’s former counsel, Jackson Walker LLP and Cassels Brock &

Blackwell. There are two adversary complaints for the turnover of those files currently pending

in the United States Bankruptcy Court for the Northern District of Iowa, Case No. 18-01297 (Dkts.


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406, 410).

           13.   Further, Defendants are still in the process of producing documents to VBF, which

is not expected to be completed until the end of April after a meet and confer on that point amongst

counsel. As a result, VBF has not received a complete set of documents in response to the Requests

to Produce issued to Defendants.

           14.   VBF requires extensions of the deadlines to amend its complaint and to name

experts which are fast approaching, in light of the case developments and ongoing discovery.

           15.   In addition, the seven new Third-Party Defendants, first named April 10, will have

an interest in the extension of the deadlines in the Amended Scheduling Order if they remain as

parties.

           16.   The Parties have been diligent in attending to scheduling issues, filing this motion

before any deadlines in the current scheduling order have expired.

           17.   This motion is not presented for delay, but so that justice may be done.

           18.   Counsel for VBF conferred with counsel for Defendant Keith Driver and Founder

Defendants, and all counsel have agreed upon the dates in the proposed Second Amended

Scheduling Order, attached as Exhibit A.1 Accordingly, the Parties respectfully request that the

Court amend the existing scheduling order and enter the proposed dates in the proposed Second

Amended Scheduling Order, attached as Exhibit A.

           19.   In the alternative, the Parties respectfully request that the Court vacate the current

scheduling order and set a date by which, after all Third-Party Defendants are served, the parties




1
  The Parties understand that this Court may not be able to accommodate the proposed trial date. The Parties propose
these dates in order to reflect the Parties’ agreement should the Court be able to accommodate an October 1, 2020 or
other similar trial date.


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jointly submit a proposed scheduling order.

       WHEREFORE, the Parties respectfully request that this Court enter an order granting this

Joint Motion to Amend the Amended Scheduling Order as provided in Exhibit A, or in the

alternative, vacate the Amended Scheduling Order, and grant any further relief that is appropriate.



Respectfully submitted,

VEROBLUE FARMS USA, INC.

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                             CERTIFICATE OF CONFERENCE

        In accordance with LR 7.1(a), on April 18, 2019, Plaintiff’s counsel contacted counsel for
the Defendants concerning the relief sought in this Motion, and each Defendant agrees to, and
joins in, the relief sought in this Motion.

                                                    /s/ Eileen E. Boyle Perich
                                                    Eileen E. Boyle Perich



                                CERTIFICATE OF SERVICE

       This document was filed electronically on April 18, 2019, and, in compliance with Local
Civil Rule LR 5.1(d), a copy of this document has been served on all counsel of record.

                                                    /s/ Jasmine Wynton
                                                    Jasmine Wynton




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